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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 UNITED STATES OF AMERICA                   )
                                            )
                       v.                   )      No. 2:97 CR 168
                                            )
 LONNIE MAURICE FORD                        )


                                   OPINION and ORDER

        This matter is before the court on petitioner Lonnie Ford’s most recent notice of

 appeal (Notice, docket # 619) and petition to proceed on appeal in forma pauperis

 (Petition, docket # 623). Ford requests to proceed as a pauper on appeal of this court’s

 March 22, 2006, order denying Ford’s second motion to reduce his sentence pursuant to

 18 U.S.C. § 3582. (Order, docket # 609.)



 A. Notice of Appeal

        In criminal cases, such as this one, a defendant has ten days to file a notice of

 appeal of a judgment or order. FED. R. APP. P. 4(b). In this case, Ford filed his notice of

 appeal on April 17, 2006, clearly more than ten days after March 22, 2006, the date of the

 court’s order denying Ford’s motion. In his notice of appeal, Ford claims that he did not

 receive notice that the court had ruled on his motion until he received a copy of his

 docket sheet on April 17, 2006.1 (Notice ¶¶ 2, 3.) His notice of appeal is also dated


        1
         Per Ford’s request, the Clerk sent Ford another copy of the court’s March 22,
 2006, order on April 21, 2006. (See docket # 608.) Presumably Ford was able to review
 the substance of the order by the time he filed for in forma pauperis status on April 28,
 2006.
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 April 17, 2006, and thus the court must assume that Ford filed his notice of appeal the

 same day he learned that his motion had been denied. FED. R. APP. P. 4(c); Houston v.

 Lack, 487 U.S. 266 (1988) (prisoner’s motion is deemed filed on date prisoner attests he

 delivered the motion to prison authorities for forwarding). The question is whether the

 court should give effect to Ford’s April 17, 2006, notice of appeal despite the fact that it

 was filed more than ten days after March 22, 2006.

        At the outset, the court addresses a side-issue related to whether the petition was

 actually untimely in the first place: the “reverse-Houston” doctrine. Under Houston, a

 prisoner’s filing is effective the date that the prisoner delivers the document to prison

 authorities, rather than the date on which the document is received by the Clerk of the

 Court. 487 U.S. 266. There are rumblings in the circuit courts as to whether this rule

 should operate in the reverse– that is, whether a prisoner’s time for filing a notice of

 appeal of a judgment should be triggered when the prisoner actually receives notice of

 the judgment in prison, rather than the date on which the judgment is entered on the

 docket. Although the Seventh Circuit has not addressed the “reverse-Houston” question,

 at least two other circuit courts have, coming to opposite conclusions. Compare United

 States v. Grana, 864 F.2d 312, 314-17 (3d Cir. 1989) (“[W]e hold that in computing the

 timeliness of pro se prisoners’ appeals, any prison delay in transmitting to the prisoner

 notice of the district court’s final order or judgment shall be excluded from the

 computation of an appellant's time for taking an appeal.”), with Jenkins v. Burtzloff, 69




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 F.3d 460, 461-62 (10th Cir. 1995) (“[W]e hold that Houston v. Lack does not affect the date

 on which the time for appeal begins to run.”)

        Like other district courts, this court finds that the question of whether to adopt

 the “reverse-Houston” rule “is for the Court of Appeals to determine in the first

 instance, as it relates to that court’s jurisdiction and is not a question specifically

 entrusted to the district court.” United States v. Morel, No. 3:01CR106, 2003 WL

 22119102, at *1 (D. Conn. Aug. 28, 2003 ). In any case, Ford has not claimed that his

 receipt of this court’s order was delayed due to the prison’s mishandling of his mail. The

 delay could have just as easily been due to slow processing by the postal service, and

 even the Grana court acknowledged that “[t]o the extent that the delay represents slow

 mail, there is nothing that this Court can do to preserve an appellant's right to appellate

 review.” 864 F.2d at 316. Accordingly, because the court can only find that Ford’s time

 to file a notice of appeal of the court’s order dismissing his second § 3582 motion began

 to run on March 22, 2006, and not on a later date under the “reverse-Houston” or some

 other doctrine, Ford’s notice of appeal remains untimely.

        Because Ford’s notice of appeal is untimely, the court construes the notice as a

 motion for extension of time to file a notice of appeal pursuant to FED. R. APP. P. 4(b)(4).

 United States v. Kaden, 819 F.2d 813, 816-17 (7th Cir. 1987). Under RULE 4(b)(4), a district

 court may extend the time to file a notice of appeal upon finding “excusable neglect or




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 good cause.”2 FED. R. APP. P. 4(b)(4). The decision to allow an extension is an equitable

 one, and the court should consider the danger of prejudice to the non-movant, the

 length of the delay, the potential impact the delay would have on the proceedings, the

 reason for the delay, whether the delay was within the reasonable control of the

 movant, and whether the movant acted in good faith. Pioneer Inv. Servs. Co. v. Brunswick

 Assocs. Ltd. P’ship, 507 U.S. 380 (1993).

        There is no indication that the delay in this case has resulted in any prejudice to

 the Government or a negative impact on the proceedings, nor has the delay been a long

 one.3 Though Ford does not indicate the precise reason for the delay, his notice attests

 that he filed his notice of appeal on the same day he received notice of the court’s

 decision regarding his § 3582 motion. See United States v. Griffin, 88 F. Supp. 2d 891, 893

 (N.D. Ill. 2000) (granting extension where petitioner “acted promptly” by filing notice of

 appeal one day after receiving notice of judgment). For these reasons, Ford’s notice of

 appeal, which the court construes as a motion for extension of time to file a notice of

 appeal, is granted.




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           The difference between “good cause” and “excusable neglect” has not been
 precisely defined, but the Court of Appeals has indicated that the former allows a
 district judge to accommodate a wider array of circumstances and is largely
 discretionary. Parke-Chapley Const. Co. v. Cherrington, 865 F.2d 907, 909-10 n.5 (7th Cir.
 1989).
        3
         RULE 4(b)(4) prevents the court from allowing an extension exceeding thirty
 days from the date the time for filing would otherwise expire, but this limitation does
 not affect this case.

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 B. Petition to Proceed In Forma Pauperis

        Ford has also filed a motion to proceed in forma pauperis on this appeal. Under 28

 U.S.C. § 1915(a)(3), “[a]n appeal may not be taken in forma pauperis if the trial court

 certifies in writing that it is not taken in good faith.” An appeal is not taken in good

 faith if the grounds set forth are frivolous– that is, if a reasonable person would not find

 that the appeal has any legal merit. Lee v. Clinton, 209 F.3d 1025, 1026 (7th Cir. 2000).

        Ford’s only stated basis for this appeal (which appears in his petition to proceed

 in forma pauperis) is that his motion was denied “for unspecified reasons.” (Petition 1.)

 However, in its March 22, 2006, order, the court explained that § 3582 and Amendment

 506 to the United States Sentencing Guidelines could afford Ford no relief because

 Amendment 506 was already in place at the time of Ford’s sentencing, making any

 retroactive application of that amendment to Ford’s sentence nonsensical and contrary

 to the language of the statute. (Order, docket # 609.) This was the second time the court

 had denied Ford relief under § 3582 for this reason. (See Order, Dec. 29, 2005, docket

 # 586.) Ford’s appeal, based on the argument that the court failed to specify reasons for

 denying his motion, is clearly frivolous and therefore not made in good faith.

 Accordingly, his petition for in forma pauperis status on this appeal is denied.



        For the foregoing reasons, the court hereby:

        (1) GRANTS Ford’s “Notice of Appeal” (docket # 619), which the court

 construes as a motion for extension of time to file a notice of appeal;


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       (2) CERTIFIES that Ford’s appeal of the court’s March 22, 2006, order (docket

 # 609) on Ford’s motion to reduce his sentence (docket # 607) has not been taken in

 good faith;

       (3) DENIES Ford’s petition for in forma pauperis status (docket # 623);

       (4) DIRECTS the Clerk to serve immediate notice of this denial to petitioner Ford

 and the Court of Appeals pursuant to FED. R. APP. P. 24(a)(4)(A);

       (5) GRANTS Ford until June 12, 2006, to pay the $455.00 appellate filing fee in

 accordance with FED. R. APP. P. 3(e); and

       (6) CAUTIONS Ford that if he does not pay the filing fee, this appeal may be

 dismissed pursuant to 7TH CIR. R. 3(b).



                                             SO ORDERED.
       ENTER: May 12, 2006

                                             s/ James T. Moody
                                             JUDGE JAMES T. MOODY
                                             UNITED STATES DISTRICT COURT
